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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:16CR3033
    vs.
                                                              ORDER
MICHAEL H. MELCHIOR, AND PEGGY
A. BRENNAN,
                  Defendants.


     Defendant Brennan’s motion, (Filing No. 59), is granted, and


     IT IS ORDERED:


     1)    Defendant Brennan joins in the motion to suppress (Filing No. 57) and
           motion in limine (Filing No. 55) filed by defendant Melchior.

     2)    Any additional briefing by Defendant Brennan in support of the motion to
           suppress and motion in limine shall be filed on or before July 1, 2016.

     3)    The government's response to the defendants' motions to suppress and
           motion in limine shall be filed on or before July 15, 2016.

     4)    The clerk shall add defendant Brennan as a filing party on the motion in
           limine (Filing No. 55) and the motion to suppress (Filing No. 57).

     Dated this 3rd day of June, 2016

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
